MANDATE
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                                  UNITED STATES COURT OF APPEALS
                                                FOR THE
                                           SECOND CIRCUIT
                              ____________________________________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 14th day of November, two thousand twenty-two,

     ____________________________________

     Ivan Antonyuk, Corey Johnson, Alfred Terrille, Joseph Mann,          ORDER
     Leslie Leman, Lawrence Sloane,                                       Docket No. 22-2379, 22-2403

     lllllllllllllllllllllPlaintiffs - Appellees,

     v.


     Kathleen Hochul, in her Official Capacity as Governor of the
     State of New York, Steven A. Nigrelli, in his Official Capacity as
     Acting Superintendent of the New York State Police, Matthew J.
     Doran, in his Official Capacity as the Licensing official of
     Onondaga County,
     Joseph Cecile,

     lllllllllllllllllllllDefendants - Appellants,

     William Fitzpatrick, in his Official Capacity as the Onondaga
     County District Attorney, Eugene Conway, in his Official
     Capacity as the Sheriff of Onondaga County, P. David Soares, in
     his Official Capacity as the District Attorney of Albany County,
     Gregory Oakes, in his Official Capacity as the District Attorney
     of Oswego County, Don Hilton, in his Official Capacity as the
     Sheriff of Oswego County, Joseph Stanzione, in his Official
     Capacity as the District Attorney of Greene County,

     lllllllllllllllllllllDefendants.
     _______________________________________

            The parties in the above-referenced case have filed a stipulation withdrawing this appeal
     pursuant to FRAP 42.

             The stipulation is hereby "So Ordered".

                                                          For The Court:
                                                          Catherine O'Hagan Wolfe,
                                                          Clerk of Court



MANDATE ISSUED ON 11/14/2022
